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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :        CRIMINAL

            v.                                :

MICHAEL “OZZIE” MYERS                         :        NO. 2020-210


                                      ORDER

             AND NOW, this 12th day of September, 2022, upon consideration of

Defendant’s Motion to Continue Sentencing (Doc #107) scheduled for September 27,

2022 and the Government’s Response in Opposition, it is hereby

      ORDERED that Defendant’s Motion to Continue Sentencing is DENIED.

                                              IT IS SO ORDERED:
                                              Paul S. Diamond /s/

                                              _______________________________________
                                              PAUL S. DIAMOND, J.
